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Pro Se Plaintiffs

                                    IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF UTAH




   LYNNETTE COOK, RODNEY JAY VESSELS,                                Plaintiffs' Reply Memorandum to Defendant's Reply
   JULIE LITTLE TAGGART                                              Memorandum in Defendant's Motion to Dismiss

                       Pro Se Plaintiffs,                            Case Number: 2:2020cv00080

   vs.                                                               The Honorable Ted Stewart
                                                                     Magistrate .Judge Paul M. Warner
   THE CORPORATION OF THE PRESIDENT OF
   THE CHURCH OF JESUS CHRIST OF LATTER-
   DAY SAINTS,A UTAH CORPORATION SOLE.,

                         Defendant


                                                      INTRODUCTION

Defendant (the "Church") submitted a Reply Memorandum in Support of Defendant's Motion to Dismiss (the
"Motion"). The Church repeated its claim that Plaintiffs' Complaint fails to state a claim on which relief can be
granted and should be dismissed with prejudice.

Defendant falsely claims that "Plaintiffs' Complaint asks this Court to do what the First Amendment plainly forbids:
interpret and weigh the Church's scriptures against the Church's teachings and practices.'' The gravamen of
Plaintiffs' Complaint, however, has NOTHING to do with religion or scripture, but rather with ACTS OF FRAUD
that are NOT protected by the First Amendment.

Plaintiffa' Reply Memorandum to Defendant's Reply Memorandum in Defendant's Motion to Dismiss (Page I)
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Hypothetically, under Ruic 12({) of the Federal Rules of Civil Procedure, this court could strike from Plaintiffs'
Complaint EVERY reference to the Book of Mormon or to "scripture" (although these relerences are simply

illustrative of Defendant's commission of fraud against its members) and Plaintiffs' Complaint would remain as it
is- -allegations of fraud under the civil provisions of the Racketeer lnf1uenced and Corrupt Organizations Act
("RICO"), 18 U.S.C. §§ 1961 and 1962, and for mail fraud under 18 U.S.C. § 134 l, wire fraud under 18 U.S.C. §
1343, and money laundering, under 18 U.S.C. § 1956.

(Plaintiffa join Defendant in withdrawing their respective requests for oral argument to allow the Court to decide this
case on the papers, in light of Chief Judge Shelby's recent General Order 20-009 responding to the global
Coronavirus pandemic by restricting live hearings.)

LEGAL STANDARD

We agree with Defendant's statement of the legal standard applicable to its motion.

ARGUMENT

Defendant errs in assuming that the heart and soul of Plaintiffs' case is based on "weighing and interpreting
religious doctrine." Religious doctrine has NOTHING to do with Plaintiffs' allegations of acts of fraud, which are
NOT protected by the First Amendment, but which ARE actionable under applicable statutes of the United States
Code.

NONE of Defendant's case precedents has anything to do with acts of fraud. Plaintiffs' allegations under RICO,
and under the mail fraud, wire fraud and money laundering provisions of the United States Code statutes have
EVERYTHING to do with acts of fraud.

Defendant misses the relevant points of each of Plaintiffs' case law precedents because it misses the relevant acts of
fraud committed by the Church. This lawsuit is the result of Plaintiffs' recent discovery that Defendant and the
Church (together, the "Enterprise") have used the money donated by Church members through tithing nominally to
run its operations, but primarily to invest in stocks and bonds and other investment vehicles, stockpiling assets
through the Enterprise's investment adviser, Ensign Peak Advisors. This stockpiling has resulted in a hoarded fund
of approximately $100 billion.

The Enterprise stockpiled members' tithing and offerings, investing in stocks, bonds, and other investments,
hoarding the money to become the wealthiest nonprofit organization in the world. The stockpiling of the Enterprise
was accomplished in secret, hidden from Church members, until revealed by a whistleblower employed by the
investment adviser for the hoarded fund.

Plaintiffs asked the Church to end this controversaiy on two separate occasions. The first time was before filing the
lawsuit. Plaintiffs asked for the opportunity to meet with the Church to discuss a resolution before filing, which
meeting was rejected. A second effort was made on February 26, 2020, when we offered to settle with the Church
without any remuneration paid to Plaintiffs, as this is NOT Plaintiffs' primary objective.

Plaintiffs offered a plan that would eliminate world poverty and child prostitution, using Plaintiffs' experts and the
contacts, power and influence of the Church. The second option we offered was to simply agree to a "Statement of
Real Truth," which we prepared for the purpose of eliminating further fraud from being perpetrated by the Church;
but the Church rejected our request.

Plaintiffs' Reply Memorandum to Defendant's Reply Memorandum in Defendant's Motion to Dismiss (Page 2)
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Instead of accepting our offer, however, Defendant moved to dismiss Plaintiffs' Complaint under Rule 12(6)(6) of
the Federal Rules of Civil Procedure for failure to state ANY claim upon which relief can be granted; but Defendant
has offered NO defense to any of Plaintiff<;' statutory claims, except with repeated attempts to escape acts of fraud
by hiding behind the First Amendment, which does not protect fraudulent acts.

The First Amendment to the United State Constitution provides, in relevant part, that Congress shall make no law
prohibiting the free exercise ofreligion. The First Amendment guarantees that the branches of government will not
prevent humans from freely pursuing any religion they choose; however, the free exercise ofreligion does not
permit acts of fraud that damage the pecuniary and property interests of others in the name of religion; that is, a
defendant church may not hide behind religion when fraudulently taking money from its members.

Plaintiffs have alleged, without any material defense offered by Defendant, that Defendant has engaged in acts of
fraud under the civil provisions of RICO, 18 U.S.C. §§ 1961 and 1962, and for mail fraud under 18 U.S.C. § 1341,
wire fraud under 18 U.S.C. § 1343, and money laundering, under 18 U.S.C. § 1956.

The RICO provisions under 18 U.S.C. § 1962 make it unlawful to receive or use income derived through an
"enterprise" engaged in or affected by interstate or foreign commerce through a pattern of racketeering activity or to
conspire to do so. An "enterprise" is defined in 18 U.S.C. § 1961 (4) to include "any individual, partnership,
corporation, association, or other legal entity." The "enterprise" in this case consists of a for-profit corporation, the
Defendant, and a nonprofit organization, the Church of Jesus Christ of Latter-day Saints. The nonprofit church is
distinctly different from the corporate Defendant, and Defendant uses the church to perpetrate its fraudulent scheme.

Plaintiffs have cited the following case law as relevant, which case law Defendant has misconstrued and ignored as
to the salient facts:

In Watson v. Jones, 80 U.S. (13 Wall.) 679 (1871), the United States Supreme Court held that the coutts had the
right to protect members ofa church (Presbyterian), who have entrusted prope1ty to the church that was supposed to
be devoted to the church's mission, and that the courts have a right to inquire into the religious practice of the parties
claiming the property entrusted was diverted from that trust: "In this country, the full and free right to entertain any
religious belief, to practice any religious principle, and to teach any religious doctrine which does not violate the
laws of morality and property and which does not infringe personal rights is conceded to all. ... Our only judicial
power in the case arises from the conflicting claims of the parties to the church property and the use ofit."

In Molko v. Holy Spirit Assn., 46 Cal.3d I 092; 762 P.2d 46; 252 Cal.Rptr. 122 (1988), cert. denied, 110 S. Ct. 3217
(1990), the California Supreme Court held that it is not inconsistent with the First Amendment to permit former
members of a religious organization to sue the religious organization for fraud, deceptive practices, and the
intentional infliction of emotional distress. Two former members of the Unification Church of the United States
were subjected to coercion and undue influence through the church's persuasion techniques. The Court ruled that
religious organizations may be sued for fraud and intentional infliction of emotional distress, when they use
deception and coercive techniques on their members. The free exercise clause of the United States Constitution
does not bar an action for fraud against a religious organization when that action implicates action, not belief. The
defendants appealed to the United States Supreme Cowt, which refused to review the decision of the California
Supreme Court, and the case was settled out of court.

In Cantwell v. Connecticut, 310 U.S. 296 (1940), a father and his two sons were Jehovah Witnesses convicted of
breach of peace for proselytizing. They claimed that they were protected by the First Amendment that granted them
the free exercise of religion. The Court held that "the [First] Amendment embraces two concepts-freedom to
believe and freedom to act. The first is absolute, but, in the nature of things, the second cannot be. Conduct remains
subject to regulation for the protection of society .... Nothing we have said is intended even remotely to imply that,
under the cloak ofreligion, persons may, with impunity, commit frauds upon the public."

 Plaintiffs' Reply Memorandum to Dcfondant's Reply Memorandum in Defendant's Motion to Dismiss (Page 3)
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                                                        CONCLUSION

Plaintiffs' Complaint states SEVERAL claims upon which relief should be granted. Acts of fraud are NOT
protected by the First Amendment. The court should deny Defendant's motion to dismiss.

Respectfully Submitted,

      Dated: the   JT1:._ day of J~=~~J-:i~--' 2020

By:




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 Plaintiffs' Reply Memorandum lo Defendant's Reply Memorandum in Defendant's Motion to Dismiss (Page 4)
